Case 2:03-cr-20187-.]PI\/| Document 57 Filed 08/18/05 Page 1 of 2 Page|D 6:[/@
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IN THE UNITED STATES DISTRICT COURT FOR THE

 

WESTERN DISTRICT oF TENNESSEE 05 AU-G 16 PH 2= 51
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UNITED STATES oF AMERICA, W!D §§ §§ M.§WS
Plaintiff,
v. CR. No.: 03-20187-M1
LARRY BOWMAN,
Defendant.

 

ORDER GRANTING MOTION TO WI'I`HDRAW AS COUNSEL OF RECORD

 

IT APPEARING to the Cou.rt that counsel’s motion to withdraw in
the above referenced cause is well taken, not opposed and ought to be granted.
lT IS THEREFORE ORDERED, ADJUDGED AND DECREED that Steffen G.

Sch:reiner, Attorney at Law, is allowed to withdraw as counsel of record for the

PM‘-O@
T HONORABLE
J NP. McCALLA

JUDGE
UNITED STATES DISTRICT COURT

DATEU

Defendant.

IT IS SO ORDERED.

 

 

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UNITED sTATE DRISTIC COURT - WETERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in
case 2:03-CR-20187 Was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

